Case 2:16-cv-06576-KM-MAH Document 321 Filed 09/19/23 Page 1 of 2 PageID: 13906




                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

 ____________________________________
                                     :
 INDUSTRIA DE ALIMENTOS              :
 ZENU S.A.S.,                        :                 Civil Action No. 16-6576 (KM) (MAH)
                                     :
              Plaintiff,             :
                                     :
       v.                            :                 AMENDED SCHEDULING ORDER
                                     :
 LATINFOOD U.S. CORP. d/b/a          :
 ZENÚ PRODUCTS CO., et al.,          :
                                     :
              Defendants.            :
 ____________________________________:

        This matter having come before the Court by way of the Plaintiff’s September 18, 2023

 letter [D.E. 320] that requests an extension of the expert report deadlines due to the retirement of

 Plaintiff’s damages expert;

        and it appearing that Defendants consent to the extensions proposed by Plaintiff;

        and for good cause shown,

        IT IS ON THIS 19th day of September 2023,

        ORDERED THAT:

        1.      Plaintiff shall serve any and all damages expert reports by November 13, 2023.

        2.      Defendants shall serve any responding expert report on damages on or before
                January 11, 2024.

        3.      All expert discovery shall be completed on or before February 26, 2024.

        4.      The telephone conference scheduled for October 23, 2023 will proceed as
                scheduled. The parties will be prepared to discuss whether it would be productive
                to hold another settlement conference in this matter, and will be expected to have
                consulted with their respective clients on this issue, in advance of the conference.
Case 2:16-cv-06576-KM-MAH Document 321 Filed 09/19/23 Page 2 of 2 PageID: 13907




                                           /s Michael A. Hammer
                                           Hon. Michael A. Hammer,
                                           United States Magistrate Judge




                                       2
